STATE OF NORTH CAROLINA IN THE GENERAL COURT OF JUSTICE
SUPERIOR COURT DIVISION
COUNTY OF UNION 19 CVS 00906

 

YURIT KOROTKOV & IRYNA
PAVLOVNA KOROTKOVA.

Plaintiffs,
-V-
SUNTRUST MORTGAGE, INC.

Defendant

 

 

DEFENDANT SUNTRUST’S!
NOTICE OF FILING NOTICE OF REMOVAL

PLEASE TAKE NOTICE that a Notice of Removal of this action from the Superior Court
of Union County, North Carolina to the United States District Court for the Western District of
North Carolina, Charlotte Division (a copy of which, excluding exhibits, is attached as Exhibit A)
was submitted on the 1°' day of May 2019 for filing in the United States District Court for the
Western District of North Carolina, Charlotte Division, thereby effecting removal of this action.
Pursuant to 28 U.S.C. § 1446(d), this Court shall proceed no further.

This the 1° day of May, 2019.
TROUTMAN SANDERS LLP
By: (
D. Kyle Deak (N.C. State Bar No. 35799)
Jamie E. Rudd (N.C. State Bar No. 50968)
305 Church at North Hills Street, Suite 1200
Raleigh, North Carolina 27609

Telephone: (919) 835-4133
Facsimile: (919) 829-8725

 

! SunTrust Mortgage, Inc. merged into SunTrust Bank, a Georgia state-chartered bank, effective
August 6, 2018. As such, the proper named Defendant in this case is SunTrust Bank.

Case 3:19-cv-00210-RJC-DSC Document 1-2 Filed 05/01/19 Page1of3
Email: kyle.deak@troutman.com
Email: jamie.rudd@troutman.com

Attorneys for Defendant SunTrust

Case 3:19-cv-00210-RJC-DSC Document 1-2 Filed 05/01/19 Page 2 of 3
CERTIFICATE OF SERVICE
The undersigned attorney for the Defendant SunTrust hereby certifies that on this day the
foregoing Notice of Filing Notice of Removal was served upon the Plaintiff in this action via first
class, postage prepaid US Postal Service mail as set forth below:

Attorney for Plaintiffs

M. Shane Perry

N.C. Bar No. 35498
COLLUM & PERRY

109 W. Statesville Ave.
Mooresville, NC 28115
Telephone: (704) 663-4187
Fasimile: (704) 663-4178

This the ji day of May, 2019.
" os Deak

Case 3:19-cv-00210-RJC-DSC Document 1-2 Filed 05/01/19 Page 3 of 3
